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                                                                      UNITED STATES BANKRUPTCY COURT
                                                                     EASTERN DISTRICT OF NORTH CAROLINA
                                                                               RALEIGH DIVISION

 Fill in this information to identify your case:
 Debtor 1               Rodger Lantz Grosse
                              First Name            Middle Name                Last Name
 Debtor 2                     Kaitlyn Louise Grosse
 (Spouse, if filing)          First Name            Middle Name                Last Name
                                                                                                                       Check if this is an amended plan and
                                                                                                                       list below the sections of the plan that
                                                                                                                       have been changed.

 Case number:              5:25-bk-1024
 (If known)




                                                                           CHAPTER 13 PLAN

 Part 1:       Notices

Definitions:               Definitions of several terms used in this Plan appear online at https://www.nceb.uscourts.gov/local‐forms under the heading
                           “Chapter 13 Plan Definitions.” These definitions also are published in the Administrative Guide to Practice and Procedure for the
                           United States Bankruptcy Court for the Eastern District of North Carolina.

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be
                           confirmable.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated if the plan is confirmed. You
                           should read this plan carefully and discuss it with your attorney if you have an attorney in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the United States
                           Bankruptcy Court for the Eastern District of North Carolina (“Court”). The Court may confirm this plan without further notice
                           if no objection to confirmation is filed. In addition, you may need to file a timely proof of claim in order to be paid under any
                           confirmed plan.

                           Only allowed claims will receive a distribution from the Trustee, and all payments made to creditors by the Trustee shall be made in
                           accordance with the Trustee’s customary distribution process. When required, pre‐confirmation adequate protection payments shall
                           be paid in accordance with Local Rule 3070‐1(c). Unless otherwise ordered by the Court, creditors not entitled to adequate
                           protection payment will receive no disbursements from the Trustee until after the plan is confirmed.

                           The following matters may be of particular importance to you. Debtors must check one box on each line of §§ 1.1, 1.2, and 1.3,
                           below, to state whether or not the plan includes provisions related to each item listed. If an item is checked “Not Included,” or
                           if neither box is checked, or if both boxes are checked, the provision will not be effective, even if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.3, which may result in a             Included                   Not Included
              secured claim being treated as only partially secured or wholly unsecured. This could result
              in the secured creditor receiving only partial payment, or no payment at all.
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out         Included                   Not Included
              in Section 3.5.
 1.3          Nonstandard provisions, set out in Part 8.                                                          Included                   Not Included


 Part 2: Plan Payments and Length of Plan
2.1 The Debtor(s) shall make regular payments to the Trustee as follows:
     $ 1,186.00 per Month for 60 months

       (Insert additional line(s), if needed.)

2.2 Additional payments. (Check one.)

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                None. (If “None” is checked, the rest of this section need not be completed or reproduced)

2.3 The total amount of estimated payments to the Trustee is $               71,160.01   .

2.4 Adjustments to the Payment Schedule/Base Plan (Check one).

                None.

                Confirmation of this plan shall not prevent an adjustment to the plan payment schedule or plan base. The Trustee or the Debtor(s)
                may seek to modify the plan payment schedule and/or plan base within 60 days after the governmental bar date to accommodate secured or
                priority claims treated in Parts 3 or 4 of this Plan. This provision shall not preclude the Debtor or the Trustee from opposing modification
                after confirmation on any other basis.

2.5 Applicable Commitment Period, Projected Disposable Income, and “Liquidation Test.”
    The Applicable Commitment Period of the Debtor(s) is 36 months, and the projected disposable income of the Debtor(s), as referenced to in 11
    U.S.C. § 1325(b)(1)(B), is $ 0.00 per month. The chapter 7 “liquidation value” of the estate of the Debtor(s), as referenced in 11 U.S.C. §
    1325(a)(4), refers to the amount that is estimated to be paid to holders of non‐priority unsecured claims. In this case, this amount is
    $ 54,855.83

 Part 3:      Treatment of Secured Claims

3.1 Lien Retention.
    The holder of each allowed secured claim provided for below will retain the lien on the property interest of the Debtor(s) or the estate until the
    earlier of:
          (a) payment of the underlying debt determined under nonbankruptcy law, or
          (b) discharge of the Debtor(s) under 11 U.S.C. § 1328.

3.2 Maintenance of Payments and Cure of Default (if any) (Check one.)
        None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
        The current contractual installment payments will be maintained on the secured claims listed below, with any changes required by the
        applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the Trustee (“Conduit”)
        or directly by the Debtor(s), as specified below. Any arrearage listed for a claim below will be paid in full through disbursements by the
        Trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the Court, the amounts listed on a proof of claim filed before the
        filing deadline under Bankruptcy Rule 3002(c) will control over any contrary amounts listed below as to the current installment payment
        and arrearage. In the absence of a timely filed proof of claim, the amounts stated below are controlling as to the current installment payment
        and arrearage. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered
        by the Court, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer
        be paid by the plan.

 Creditor Name                               Collateral                          Current Installment           Arrears Owed             Interest Rate
                                                                                 Payment                       (if any)                 on Arrearage
                                                                                 (including escrow)                                     (if appliable)
 American Honda Finance                      2023 Honda Odyssey 14500 miles                          $0.00                        $0.00 0.00%
                                             Value = KBB Trade Value                To be disbursed by:
                                                                                    Trustee
                                                                                    Debtor(s)
      Insert additional claims as needed.

      Other. (Check all that apply, and explain.) The Debtor(s):
      (a)      do intend to seek a mortgage modification with respect to the following loan(s) listed above:


      (b)          do not intend to seek mortgage loan modification of any of the mortgage loans listed above;

      (c)          intend to:

3.3 Request for Valuation of Security and Modification of Undersecured Claims. (Check one)

              None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Claims Excluded from 11 U.S.C. § 506(a). (check one)


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              None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Avoidance of Judicial Liens or Nonpossessory, Nonpurchase-Money Security Interests. (Check one)

              None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6 Surrender of Collateral. (Check one.)
         None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.
         The Debtor(s) will surrender the collateral listed below that secures the creditor’s claim. Upon confirmation of the plan, the automatic stay
         of 11 U.S.C. § 362(a) shall terminate as to the surrendered collateral and any co‐debtor stay of 11 U.S.C. § 1301 shall terminate in all
         respects. No claim for a deficiency remaining due after the disposition of surrendered collateral will be allowed or paid unless the creditor
         timely files a proof of claim and, within 180 days after confirmation of the plan, amends the claim as necessary to show the remaining
         unsecured deficiency after the disposition of the surrendered collateral. Absent such timely filing and amendment of a claim, or an order by
         the Court extending the 180‐day filing deadline, the surrender of the collateral shall be deemed in full satisfaction of the Debtor’s
         contractual obligation to the creditor.

 Creditor Name                                                                   Collateral
                                                                                 2023 Ford Maverick 58812 miles
 Ford Motor Credit                                                               Value = KBB Trade
                                                                                 This debt may be secured by property used by the male Debtor in his
 Huntington National Bank                                                        previously operated businesses.
Insert lines for additional creditors and collateral, as needed.

 Part 4: Treatment of Fees and Priority Claims
4.1 General Treatment: Unless otherwise indicated in this Part or in Part 8, Nonstandard Plan Provisions, the Trustee’s fees and all allowed
     priority claims, will be paid in full without interest through Trustee disbursements under the plan.

4.2 Trustee’s Fees: Trustee’s fees are governed by statute and orders entered by the Court and may change during the course of the case. The
    Trustee’s fees are estimated to be 8.00 % of amounts disbursed by the Trustee under the plan and are estimated to total $ 5,692.80                   .

4.3 Debtor(s)' Attorney’s Fees. (Check one below, as appropriate.)
              Debtor(s)’ attorney has agreed to accept as a base fee $ 6,500.00 , of which $             582.00     was paid prior to filing. The Debtor(s)'
              attorney requests that the balance of $ 5,918.00 be paid through the plan.

                     The Debtor(s)' attorney intends to apply or has applied to the Court for compensation for services on a “time and expense” basis, as
                     provided in Local Rule 2016-1(a)(7). The attorney estimates that the total amount of compensation that will be sought is $      , of
                     which $      was paid prior to filing. The Debtor(s)' attorney requests that the estimated balance of $     be paid through the plan.

4.4 Domestic Support Obligations ("DSO's"). (Check all that apply.)

              None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Priority Claims Other than Attorney’s Fees and Those Treated in Section 4.4
             None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
             Section 507(a) priority claims, other than attorney’s fees and domestic support obligations are estimated to be as follows:

  Creditor Name                                                       Claim For:                                       Estimated Claim Amount
  Internal Revenue Service                                            Taxes and Certain Other Debts                    $5,053.00


 Part 5: Unsecured Non‐priority Claims
5.1 General Treatment. After confirmation of a plan, holders of allowed, non‐priority unsecured claims that are not specially classified in § 5.2
     below, will receive a pro rata distribution with other holders of allowed, non‐ priority unsecured claims from the higher of either the disposable
     income of the Debtor(s) over the applicable commitment period or liquidation test (see paragraph 2.5). Payments will commence after payment to
     the holders of allowed secured, arrearage, unsecured priority, administrative, specially classified unsecured claims, and the Trustee’s fees.

      Except as may be required by the “disposable income” or “liquidation” tests, or as may otherwise be specifically set forth in this Plan, no specific
      distribution to general unsecured creditors is guaranteed under this Plan, and the distribution to such creditors may change depending on the
      valuation of secured claims (including arrears) and/or the amounts which will be paid to holders of priority unsecured claims under this Plan, both
      of which may differ from the treatment set forth in Parts 3 and 4 of this Plan based on claims filed by secured and priority creditors, or based on
      further orders of the Court.

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5.2 Co‐Debtor and Other Specially Classified Unsecured Claims. (Check one.)
        None. If “None” is checked, the rest of Part 5 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are to be treated as specified. All other executory contracts and unexpired
    leases are rejected. Allowed claims arising from the rejection of executory contracts or unexpired leases shall be treated as unsecured
    non-priority claims under Part 5 of this Plan, unless otherwise ordered by the Court. (Check one.)

              None. If “None” is checked, the rest of Part 6 need not be completed or reproduced.
              The executory contracts and unexpired leases listed below will be assumed (“A) or rejected (“R), as specified below.

      If assumed, post-petition installment payments on the claims listed below will be paid directly by the Debtor(s) according to the terms of the
      underlying contract. Any pre-petition arrears listed on an assumed executory contract/unexpired lease will be cured by payments disbursed by the
      trustee over the “Term of Cure” indicated, with interest (if any) at the rate stated.

                                                                                Pre-petition
                                                                                                                 Term of        Current           Contract or
                                                                               Arrears to be   Interest Rate
                                                                     A or R                                        Cure         Monthly           Lease Ends
    Lessor/Creditor              Subject of                                       Cured         On Arrears
                                                                                                                (# of mos.)     Payment            (mm/yyyy)
         Name                  Lease/Contract                                     (if any)
 Mainstreet Renewal Residential Lease                                  A      $0.00            0.00%                 0        $0.00
 Three Wing Property Business Lease                                    R      $0.00            0.00%                 0        $0.00
 LLC
Insert additional leases or contracts, as needed.

 Part 7:      Miscellaneous Provisions

7.1 Vesting of Property of the Bankruptcy Estate: (Check one.)
    Property of the estate will vest in the Debtor(s) upon:
         plan confirmation.
         discharge
         other:

7.2 Use, Sale, or Lease of Property: The use of property by the Debtor(s) remains subject to the requirements of 11 U.S.C. § 363, all other provisions
    of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

7.3 Rights of the Debtor(s) and Trustee to Object to Claims: Confirmation of the plan shall not prejudice the right of the Debtor(s) or Trustee to
    object to any claim.

7.4 Rights of the Debtor(s) and Trustee to Avoid Liens and Recover Transfers: Confirmation of the plan shall not prejudice any rights the Trustee
    or Debtor(s) may have to bring actions to avoid liens, or to avoid and recover transfers, under applicable law.

 Part 8:      Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions.

                          None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.


 Part 9:      Signatures

9.1        Signatures of Debtor(s) and Debtor(s)' Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s)' signatures are optional. The attorney for
Debtor(s), if any, must sign below.

 X     /s/ Rodger Lantz Grosse                                                     X    /s/ Kaitlyn Louise Gross
       Rodger Lantz Grosse                                                              Kaitlyn Louise Grosse
       Signature of Debtor 1                                                            Signature of Debtor 2

       Executed on             March 20, 2025                                           Executed on      March 20, 2025
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By signing and filing this document, the Debtor(s) certify that the wording and order of the provisions in this Chapter 13 plan are identical to
those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions included in Part 8.

 X     /s/ Laurie B. Biggs                                            Date March 20, 2025
       Laurie B. Biggs 31845                                                            MM/DD/YYYY
       Signature of Attorney for Debtor(s)
If this document is also signed and filed by an Attorney for Debtor(s), the Attorney also certifies, that the wording and order of the provisions
in this Chapter 13 plan are identical to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions included in Part 8.




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